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lN THE UN|TED STATES DlSTR|CT COURT

FOR THE DlSTR|CT OF DELAWARE

WlLLlAl\/l BLAEUER,
Plaintiff,
v. Civ. No. 09-934-SLR

ZUCKER, GOLDBERG &
ACKERMAN, LLC,

VVVVVVVVV\/

Defendant.

MEMORANDUM ORDER

At V\h|mington this 28th day of March, 2011, having reviewed defendant’s motion
for sanctions and the papers file in connection therewith;

lT lS ORDERED that said motion (D.l. 20) is denied. Sanctions under Rule 11 of
the Federal Rules of Civil Procedure should be reserved for egregious cases of abuse.
A|though l have granted defendant’s motion to dismiss, clearly defendant’s mortgage
foreclosure documentation contained less than perfectly accurate information, and l
decline to sanction plaintist counsel under Rule 11 forfiling the instant lawsuit under

these circumstances.

Al.c<?';?nlws</

united states Di€trict Judge

 

